Case 3:21-cv-00081-G-BH Document 25 Filed 06/28/21                 Page 1 of 6 PageID 359



                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

  U.S. BANK, NATIONAL                               §
  ASSOCIATION AS LEGAL TITLE                        §
  TRUSTEE FOR TRUMAN 2016 SC6                       §
  TITLE TRUST                                       §
        Plaintiff,                                  §
                                                    §
  v.                                                §      CIVIL ACTION NO. 3:21-cv-81
                                                    §
  CANNOISE HARPER, L.J. HARPER,                     §
  JAMES HARPER, LEEVON HARPER,                      §
  CELETHA HARPER, THERESA                           §
  DEROSIN, SHERMAINE BARRY,                         §
  ETOSHIA WILLIAMS, CARLESTER                       §
  HARPER, JACKQUELYN                                §
  STRICKLAND, and ERICKA                            §
  JOHNSON,                                          §
      Defendants.                                   §

           PLAINTIFF’S MOTION FOR AWARD OF ATTORNEY’S FEES
                    AND COSTS AND BRIEF IN SUPPORT

         COMES NOW, Plaintiff U.S. BANK, NATIONAL ASSOCIATION AS LEGAL

  TITLE TRUSTEE FOR TRUMAN 2016 SC6 TITLE TRUST, its successors and assigns,

  (“U.S. Bank” or “Plaintiff”) and pursuant to Federal Rule of Civil Procedure 54(d) as

  well as applicable law files its Motion for Award of Attorney’s Fees and Costs and Brief

  in Support (“Motion”), and respectfully shows the Court as follows:

                                    I.      Introduction

         On January 13, 2021, Plaintiff filed its Complaint naming as defendants several

  heirs of the deceased borrower who have a potential interest in the property at issue in

  this case. [Doc. 1]. Plaintiff’s Disclosure Statement and Certificate of Interested Parties

  was filed that same day. [Doc. 2]. On January 14, 2021, Plaintiff nonsuited defendant

  Theresa Derosin. [Doc. 5]. On January 14, 2021, Plaintiff filed its First Amended


  PLAINTIFF’S MOTION FOR ATTORNEY’S FEES                                                        Page 1
  BDFTE NO. 00000007114044 (ANDERSON)
Case 3:21-cv-00081-G-BH Document 25 Filed 06/28/21                  Page 2 of 6 PageID 360



  Complaint naming the following heirs as defendants: Cannoise Harper, L.J. Harper,

  James Harper, Leevon Harper, Celetha Harper, Shermaine Barry, Etoshia Williams,

  Carlester Harper, Jackquelyn Strickland, Ericka Johnson, Melvin Derosin and Hishora

  Latrice Harper. [Doc. 6].

         On June 3, 2021, Plaintiff filed its Motion for Default Judgment Against Cannoise

  Harper, L.J. Harper, James Harper, Leevon Harper, Celetha Harper, Shermaine Barry,

  Etoshia Williams, Carlester Harper, Ericka Johnson, Melvin Derosin and Hishora Latrice

  Harper (“Defaulting Defendants”) [Doc. 20]. On June 4, 2021, the Clerk’s Entry of

  Default as to Defaulting Defendants was entered. [Doc. 22]. On June 15, 2021, this Court

  entered a Default Judgment whereby the Court ordered Plaintiff to file a motion for

  attorney’s fees and costs pursuant to Fed. R. Civ. P. 54(d)(2)(B)(i). [Doc. 23].

         As a result of the breach of Decedent’s obligation under the Loan Agreement,

  U.S. Bank was forced to retain the undersigned legal counsel to institute and prosecute

  this action. Under the terms of the Note and Deed of Trust, Decedent agreed to pay all

  reasonable attorneys’ fees and costs of court incurred in enforcing the payment and

  collection of the Note and Deed of Trust. Accordingly, Plaintiff is entitled to an award of

  its attorney’s fees and costs. Further, Plaintiff is entitled to an award of attorney’s fees

  and costs as the prevailing party against the Defaulting Defendants.

                    II.       Statement of Issues and Background Facts

         On or about July 22, 2005, Decedent executed a Promissory Note (“Note”) in the

  principal sum of $65,600.00, with interest at the rate of 6.450 percent per annum. U.S.

  Bank is the holder of the Note. A true and correct copy of the Note is attached as Exhibit




  PLAINTIFF’S MOTION FOR ATTORNEY’S FEES                                                         Page 2
  BDFTE NO. 00000007114044 (ANDERSON)
Case 3:21-cv-00081-G-BH Document 25 Filed 06/28/21                  Page 3 of 6 PageID 361



  A-1 (redacted for loan numbers) and incorporated by reference for all purposes.

  Rushmore Loan Management Services, LLC is the mortgage servicer for U.S. Bank.

         Decedent executed a Homestead Lien Contract and Deed of Trust (“Deed of

  Trust”) (collectively the “Loan Agreement”) encumbering the Property as security for

  payment of the Note. A true and correct copy of the Deed of Trust is attached as Exhibit

  A-2 (redacted for loan numbers) and incorporated by reference for all purposes.

         Plaintiff is the current holder of the wet ink Note, which contains an endorsement

  in blank.

         Decedent died on or about December 12, 2015. A probate proceeding was opened

  for Decedent under Cause Number PR-16-01315-2 in the Probate Court No. 2 of Dallas

  County, Texas. Despite the probate being filed in 2016, no executor has yet to be

  appointed, and the probate remains pending.

         According to the Mortgagee’s records, Decedent materially breached and failed to

  cure the respective Loan Agreement obligations by failing to make scheduled monthly

  payments. The Loan Agreement is currently due and owing for the September 10, 2010

  payment and all subsequent payments. The amount required to pay off the lien through

  November 30, 2020 was at least $126,458.18. The required notice of default was mailed

  to Decedent under the Loan Agreement as required by law and the Deed of Trust.

  Decedent and Decedent’s Estate failed to cure the default. A true and correct copy of that

  Notice of Default is attached hereto as Exhibit A-3. Neither Decedent nor her heirs cured

  the default. Accordingly, the debt was accelerated by the filing of this lawsuit.

         The lawsuit specifically alleges breach of contract and requests an order allowing

  foreclosure. [Doc. 1] While the Loan Agreement is non-recourse and the Defaulting



  PLAINTIFF’S MOTION FOR ATTORNEY’S FEES                                                       Page 3
  BDFTE NO. 00000007114044 (ANDERSON)
Case 3:21-cv-00081-G-BH Document 25 Filed 06/28/21                  Page 4 of 6 PageID 362



  Defendants are not personally liable, Plaintiff seeks attorney’s fees under the terms of the

  contract. Specifically, the Note and Deed of Trust require the Decedent (or her estate) to

  pay Plaintiff attorney’s fees and costs Plaintiff incurs: (1) to enforce the Note and Deed

  of Trust, (2) based on Decedent’s failure to keep covenants and agreements in the Deed

  of Trust, and (3) to protect Plaintiff’s interest in the Property jeopardized by a lawsuit

  filed. Plaintiff hereby seeks to recover its attorney’s fees and costs that Decedent agreed

  to pay pursuant to the Note and Deed of Trust.

                             III.    Argument and Authorities

         Rule 54(d) of the Federal Rules of Civil Procedure governs costs and attorneys'

  fees. Under the American Rule, prevailing parties generally cannot recover attorneys' fees

  without a statutory or contractual basis. HSBC Bank USA, N.A. for Merill Lynch

  Mortgage Investors Trust, Mortgage Loan Asset-Backed Certificates, Series 2005-WMCI

  v. Crum, No. 3:14-CV-3522; 2017 WL 2362017 *2 (N.D. Tex. May 31, 2017) (citing

  Summit Valley Indus., Inc. v. United Bhd. of Carpenters & Joiners, 456 U.S. 717, 721

  (1982)). Rule 54(d)(2) provides the procedure for the prevailing party, by motion, to

  specify the statute, rule, or other grounds entitling them to the award. Here, Plaintiff

  moves for attorney's fees according to the subject Note and Deed of Trust.

         Further, “Home equity notes are non-recourse as a matter of law, but that rule

  does not bar recovery of attorneys’ fees and other expenses, as provided for in [the]

  security instrument, as part of the balance owed under the note.” These fees may be

  recovered against the property upon any foreclosure sale.” Id. (citing Huston v. U.S. Bank

  Nat. Ass’n, 988 F.Supp.2d 732, 741 (S.D. Tex. 2013)); see also Tex. Const. Art. XVI §

  50(a)(6)(C). Under the terms of the Note and Deed of Trust, Decedent agreed to pay all



  PLAINTIFF’S MOTION FOR ATTORNEY’S FEES                                                         Page 4
  BDFTE NO. 00000007114044 (ANDERSON)
Case 3:21-cv-00081-G-BH Document 25 Filed 06/28/21                  Page 5 of 6 PageID 363



  reasonable attorneys’ fees and costs of court incurred in enforcing the payment and

  collection of the Note and Deed of Trust, to include any appeal to a Court of Appeals or

  an appeal to the Texas or U.S. Supreme Court. Accordingly, Plaintiff is entitled to

  recover its reasonable attorney’s fees for the services rendered in instituting and

  prosecuting this action.

         Plaintiff is represented by Crystal G. Gibson of the law firm of Barrett Daffin

  Frappier Turner and Engel, LLP (“BDFTE”). See Exhibit B – Declaration of Crystal G.

  Gibson. The rates charged by Ms. Gibson are reasonable and therefore properly

  recoverable for the legal work necessitated by the filing of Plaintiff’s lawsuit. As of June

  25, 2021, Plaintiff has incurred $3,010.00 in reasonable and necessary attorney’s fees

  from BDFTE, as well as $2,540.09 in necessary costs and expenses related to the

  prosecution of this matter.

         The rates and fees charged by BDFTE are also reasonable and consistent with the

  rates charged by comparable firms in Texas. Ms. Gibson is a Senior Litigation Attorney

  working on this matter, and her rate for work performed for Plaintiff on this case is

  $215.00 per hour. Id. All of the rates charged to Plaintiff are “in line with those [rates]

  prevailing in the community for similar services by lawyers of reasonably comparable

  skill, experience, and reputation.” Wilmington Trust, National Association as Trustee for

  MFRA Trust 2015-2 v. Martinez, 2021 WL 2324174, at *2 (N.D. Tex. Apr. 14, 2021)

  (quoting Norman v. Hous. Auth. Of City of Montgomery, 836 F.2d 1292, 1299 (11th Cir.

  1988) (citing Blum v. Stenson, 465 U.S. 886, 895-96 n.11 (1984)). Additionally, the rates

  charged by BDFTE in this matter are consistent with the rates charged by BDFTE in

  similar matters in which BDFTE represents Plaintiff. Id.



  PLAINTIFF’S MOTION FOR ATTORNEY’S FEES                                                         Page 5
  BDFTE NO. 00000007114044 (ANDERSON)
Case 3:21-cv-00081-G-BH Document 25 Filed 06/28/21                    Page 6 of 6 PageID 364



         The services provided by BDFTE in this matter include, among other things,

  review of the probate case and heir search as well as the foreclosure file for purposes of

  drafting Plaintiff’s Original Complaint as well as drafting Plaintiff’s Amended

  Complaint, the Disclosure Statement and Certificate of Interested Parties, Motion to

  Dismiss one of the deceased heirs, Motion for Default and related documents. Id. Ms.

  Gibson, the attorney who worked on this matter, possesses the skill requisite to properly

  perform the legal services rendered in this matter. Id. In light of the foregoing, and the

  results obtained, the fees and costs charges in this dispute are reasonable and necessary.

  Id.

                                       IV.     Conclusion

         Plaintiff requests the Court grant Plaintiff’s Motion and award its reasonable and

  necessary attorney’s fees in the amount of $3,010.00 and costs in the amount of

  $2,540.09 totaling $5,550.09. Plaintiff further prays that the Court grant it such other and

  further relief, in law and in equity, to which it may be justly entitled.

                                         Respectfully submitted:

                                         /s/ Crystal G. Gibson
                                         Crystal Gee Gibson
                                         State Bar No. 2407322
                                         Barrett Daffin Frappier Turner & Engel, LLP
                                         4004 Belt Line, Suite 100
                                         Addison, Texas 75001
                                         (972) 340-7901
                                         (972) 341-0734 (Facsimile)
                                         CrystalR@bdfgroup.com

                                         COUNSEL FOR PLAINTIFF




  PLAINTIFF’S MOTION FOR ATTORNEY’S FEES                                                         Page 6
  BDFTE NO. 00000007114044 (ANDERSON)
